           Case 2:24-cv-01743-KBH Document 15 Filed 05/21/24 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ATS TREE SERVICES, LLC,                                   CIVIL ACTION
                   Plaintiff,

                  v.

    FEDERAL TRADE COMMISSION,                                 NO. 24-1743
    LINA M. KHAN, in her official capacity as
    Chair of the Federal Trade Commission,
    REBECCA KELLY SLAUGHTER,
    ALVARO BEDOYA,
    ANDREW N. FERGUSON and
    MELISSA HOLYOAK, in their official
    capacities as Commissioners of the FTC,
                         Defendants.

                                             ORDER

         AND NOW, this 21st day of May, 2024, upon consideration of Defendant Federal Trade

Commission’s (“FTC”) letter request for a one-week extension to respond to Plaintiff ATS Tree

Services, LLC’s (“ATS”) preliminary injunction motion, and good cause appearing, it is hereby

ORDERED that Defendant’s request for extension to respond is GRANTED. It is further

ORDERED 1 as follows:

      1. The FTC shall file its response in opposition to ATS’s Motion for Preliminary Injunction

         (ECF No. 10) on or by June 4, 2024;

      2. ATS shall file its reply in support of its Motion on or by June 25, 2024;

      3. Should the Court deem a hearing on ATS’s Motion necessary, a tentative hearing date is

         scheduled for July 10, 2024 at 12:00 p.m.;




1
 The Court is issuing an extended briefing timeline in consideration of the briefing and hearing
schedule in the pending case Ryan LLC et al. v. FTC, No. 3:24-cv-00986-E (N.D. Tex, May 9,
2024) that was noted in the Defendant’s letter request for an extension of time.
     Case 2:24-cv-01743-KBH Document 15 Filed 05/21/24 Page 2 of 2




4. The Court will issue a decision on the merits of Plaintiff ATS’s Motion for Preliminary

   Injunction (ECF No. 10) by July 23, 2024.

                                                BY THE COURT:

                                                /s/ Hon. Kelley B. Hodge

                                                   HODGE, KELLEY B., J.




                                           2
